 1   NATHAN F. SMITH, #029780
     MALCOLM ♦ CISNEROS, A Law Corporation
 2   2112 Business Center Drive
     Irvine, California 92612
 3
     (949) 252-9400 Phone
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 5   Attorney for LoanCare, LLC servicer for TIAA, FSB
 6
                               UNITED STATES BANKRUPTCY COURT
 7
 8                                      DISTRICT OF ARIZONA

 9
10   In re:                                          Bankruptcy Case No. 4:20-bk-08876-SHG
11   JOHN ARTHUR SEBERT, JR. AND                     Chapter 13
12   ABBIE FAYE WILLARD,
                                                     NOTICE   OF  APPEARANCE                   AND
13                                                   REQUEST FOR NOTICE
                           Debtors.
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21             PLEASE TAKE NOTICE that LoanCare, LLC servicer for TIAA, FSB (“TIAA”) by
22   and through its undersigned attorney, hereby gives notice of the undersigned attorney appearance in
23   this matter. The undersigned also hereby requests to be added to the Master Mailing List in the
24   bankruptcy and receive all notices in this case TIAA requests that the Master Mailing List be
25   amended to add the following names:
26                        MALCOLM ♦ CISNEROS, A Law Corporation
                          2112 Business Center Drive
27                        Irvine, California 92612
28
                                          NOTICE OF APPEARANCE
                                                    1


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                               Main Document    Page 1 of 3
 1             This Notice of Appearance and Request for Notice is filed pursuant to Rules 2002(g) and

 2   9010 of the Federal Rules of Bankruptcy Procedure.

 3
                                                    Respectfully Submitted,
 4   DATED: February 18, 2021

 5                                                  MALCOLM ♦ CISNEROS, A Law Corporation
                                                    /s/ Nathan F. Smith
 6
                                                    Nathan F. Smith #029780
 7                                                  Attorney for LoanCare, LLC servicer for TIAA,
                                                    FSB
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                                          NOTICE OF APPEARANCE
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                                                   PROOF OF SERVICE


I am employed by the law firm of Malcolm & Cisneros in the county of Orange, State of California. I am over the age of 18
and not a party to the within action. My business address is 2112 Business Center Drive, Irvine, California 92612



                 On February 18, 2021, I caused to be served the document entitled: NOTICE OF APPEARANCE AND
                 REQUEST FOR NOTICE



         on the following interested parties:
         Debtor(s):                                             Attorney for Debtor(s):
         JOHN ARTHUR SEBERT, JR.                                MATTHEW THOMAS FOLEY
         6278 N. CALLE DEL HALCON                               4400 E. BROADWAY, SUITE 811
         TUCSON, AZ 85718                                       TUCSON, AZ 85711

         ABBIE FAYE WILLARD
         6278 N. CALLE DEL HALCON
         TUCSON, AZ 85718
         Trustee:                                               U.S. Trustee:
         DIANNE C. KERNS                                        U.S. TRUSTEE
         31 N. 6TH AVENUE                                       OFFICE OF THE U.S. TRUSTEE
         #105-152                                               230 NORTH FIRST AVENUE
         TUCSON, AZ 85701                                       SUITE 204
                                                                PHOENIX, AZ 85003



            (By Mail) I caused each envelope, with postage prepaid, to be placed in the United States Mail at
            Irvine, California

            (By Hand) I caused each envelope to be delivered by hand

            (By Overnight Courier) I caused each envelope, with postage prepaid, to be sent by Federal
            Express/Express Mail.

            (By Facsimile Transmission) I caused each document to be sent by automatic facsimile transmission
            to the following telephone numbers and confirmed by voice communication that the transmission was received:



           I declare under penalty of perjury that I am employed in the office of a member of the bar of this Court
           at whose direction service was made and that the foregoing is true and correct and this declaration was
           executed on the date indicated below at Irvine, California.



Dated: February 18, 2021                                    /s/ Diep Quach
                                                            Diep Quach




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